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                               IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF SOUTH CAROLINA


     GABY     :R1111BJ1lE.   LOft
                                                                 Complaint for a Civil Case

                                                                 Case No.
     (Write the.full name of each plainf!ffwho is filing
                                                                            ----------
                                                                 (to be filled in by the Clerk's Office)
     this complaint. If the names of all the plaint(ffs
     cannot jit in the space above, please write "see
                                                                 Jury Trial:     ii Yes     □   No
     attached" in the space and attach an additional
                                                                                 (check one)
     page with the full list of names.)


        -aK!!J!!~ L.Ul!CE. SH
     CDIS'?IIP1iEB                    rS
                              . ESQUillil
     EUGENE c. GRIFFU,, Circ t Court lua.ge;
     SOLICITOR BAVID )(.            S'l'UJllJOt:' new etlt Cir
     Q~.     Soli i tor       201}       GREEUV/OOD COUBlTY;

     ( Write the full name of each defendant who is
     being sued. If the names of all the defendants
     cannot jit in the space above, please write "see
     attached" in the space and attach an additional
     page with the full list of names.)

     Elizabet& WHI'l'E (Ass. Solic:iit.r8th Cir-
     cuit GREEN!WOOD OOWTY); Clff OF OREES-
     WOOD: GREDWOOD COIDl'f'Y, SOUTHl CA!\OLIB
     ll, Their IN!DIVI;J)UAL, OFFICUL aadjw
     OOLLEC'llU Capacf-t-1~"'~:
                                       )
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I.    The Parties to This Complaint

      A.    The Plaintiff(s)

            Provide the information below for each plaintiff named in the complaint. Attach
            additional pages if needed.

                   Name           Gary Eugene LOT'l'
                                        -------------------
                   Street Address 1729 Fruithill Road                                 GCDC
                                 Salud=a-,-sc-~2~9~,,~3-gr----:R==-,e,,....-,,Bd=-=-g-e~f~i-e]~d-S_t_r_e_e_t_
                   City and County
                                                                          Greeztwood, SC           29646
                   State and Zip Code
                   Telephone Number
      B.    The Defendant(s)

            Provide the information below for each defendant named in the complaint,
            whether the defendant is an individual, a government agency, an organization, or
            a corporation. For an individual defendant, include the person's job or title (if
            known). Attach additional pages if needed.

            Defendant No. l
                   Name                  Eugene c. Griffin, Jr.
                                        Circuit Cour~ Judge
                   Job or Title
                   (if known)             1226        Colleie Street.
                   Street Address
                                        l:ewllerry, SC          29;108-27i57
                   City and County
                   State and Zip Code
                   Telephone Number
             Defendant No. 2
                   Name                    David     Stu.abo
                   Job or Title            8th     Cir. Solicitor
                   (if known)              600     Kon.uaent Street, Ste. 205
                                           FOB        516
                   Street Address
                                           Greenwood,          SC    29649
                   City and County
                    State and Zip Code
                   Telephone Number
             Defendant No. 3
                    Name                     Elizabeth WHIT&



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                       .lob or Title        Ass.       Soli.citor
                       (if known)
                       Street Address        Same       as   N.o •    ~   Def ellldan t

                       City and County
                       State and Zip Code
                       Telephone Number
              Defendant No. 4
                                           Christopher Lance SDEIC
                       Name
                       Job or Title           f~u1i--~
                       (if known)
                       Street Address
                       City and County
                       State and Zip Code
                       Telephone Number
II.    Basis for Jurisdiction

      Federal courts are courts of limited jurisdiction (limited power). Generally, only two
      types of cases can be heard in federal court: cases involving a federal question and cases
      involving diversity of citizenship of the parties. Under 28 U.S.C. § 1331, a case arising
      under the United States Constitution or federal laws or treaties is a federal question case.
      Under 28 U .S.C. § 1332, a case in which a citizen of one State sues a citizen of another
      State or nation and the amount at stake is more than $75,000 is a diversity of citizenship
      case. In a diversity of citizenship case, no defendant may be a citizen of the same State
      as any plaintiff.

       What is the basis for federal court jurisdiction? (check all that apply)

             ~    Federal question                           □     Diversity of citizenship

       Fill out the paragraphs in this section that apply to this case.

       A.      If the Basis for Jurisdiction Is a Federal Question

               List the specific federal statutes, federal treaties, and/or provisions of the United
               States Constitution that are at issue in this case.
                                                              4,
                 42   TJ.• s.c.A.      19a,, 1986, 19s5, [2000




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 B.    If the Basis for .Jurisdiction Is Diversity of Citizenship

       I.     The Plaintiff(s)

              a.      If the plaintiff is an individual

      _X              The plaintiff, (name) Gacy Eupne LOTT
                      the State of (name) South Carolina
                                                                        , is a citizen of



              b.      If the plaintiff is a corporation

                      The plaintitl (name) _ _ _ _ _ _ _ _ _ _ , is incorporated
                      under the laws of the State of (name)
                                                            ----------
                      and has its principal place of business in the State of (name)



              (If more than one plaintiff is named in the complaint, attach an additional
              page providing the same information for each additional plaintiff)

       2.     The Defendant(s)

              a.      If the defendant is an individual

                      The defendant, (name)Christoph.er Lance SH§ a citizen of
                      the State of (name) Soutlat CarQlina     . Or is a citizen of
                      (foreign nation) _ _ _ _ _ _ _ _ __

              b.      If the defendant is a corporation

                      The defendant, (name) _ _ _ _ _ _ _ _ _ _ , is
                      incorporated under the laws of the State of (name)
                                                   , and has its principal place of
                      ----------
                      business in the State of (name) _ _ _ _ _ _ _ _ _ _ . Or is
                      incorporated under the laws of (foreign nation)
                      _ _ _ _ _ _ _ _ _ _, and has its principal place of
                      business in (name) _ _ _ _ _ _ _ _ __

              (If more than one defendant is named in the complaint, attach an
              additional page providing the same information for each additional
              defendant.)




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                      3.       The Amount in Controversy

                               The amount in controversy-the amount the plaintiff claims the defendant
                               owes or the amount at stake-is more than $75,000, not counting interest
                               and costs of court, because (explain):




   [II.      Statement of Claim

             Write a short and plain statement of the claim. Do not make legal arguments. State as
             briefly as possible the facts showing that each plaintiff is entitled to the damages or other
             relief sought. State how each defendant was involved and what each defendant did that
             caused the plaintiff harm or violated the plaintiffs rights, including the dates and places
             of that involvement or conduct. If more than one claim is asserted, number each claim
             and write a short and plain statement of each claim in a separate paragraph. Attach
             additional pages if needed.
                                                         1

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due       process ef law violati.oa on or ahotllt 2.25.13; specifical)$ ia
th
   •      (foraal.)           (in.dict■eat # 201'.3-E-24-0305)(see alse 201:,..CS..
                           charge(s)
24-0101;       cse ,~d) (date .r e:tt·e... 10.:;.11);, ae waa tried nere tllte
Ce.,urt &ad governaent. ef':ficial(s)             d:id       not    haYe       jurisdi.cu.QJil te   pnceed
   IV.       Relief

          State briefly and precisely what damages or other relief the plaintiff asks the court to
          order. Do not make legal arguments. Include any basis for claiming that the wrongs
          alleged are continuing at the present time. Include the amounts of any actual damages
          claimed for the acts alleged and the basis for these amounts. Include any punitive or
          exemplary damages claimed, the amounts, and the reasons you claim you are entitled to
          actual or punitive money damages.
       Lott urges the Court ta. grant declaratory, iq-cti.Ye a.ad daaaps
actual., neaiul and              puaiU.Ye     taaaa••            hereia    u     exceas   ef   fort,'    (40)
.Ulioa dollira;




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fel'l'Se( s)           CSC           1st.          (Tr.        pp.     335-336)
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2.28.15-the                      appeal.(s)                 (d.ir:.ct:iy')        is       still.      pending          where         he     :is    bei.JJc
denied           due            process            of        law      in       tae     State         Court(s);
         He         filed             a&tiorr(s)               iB.     the       state         trial        -:;o:u.x·t(s)      en or          aboa.-t 10.
:,.14.     waere                there         appee.ra             (.must)        be       a    conspiracy             fq      defendants            to     de-
JV       due        process              of        :la:J1      (a ue            :natvre         of     Mo tiOB te Arres~ Jlldpen~                         8.Dd/
Qr Vacate cemiction aad                                        een.-teace u.             j,urjsdicUollt&l           cr•IUtdh
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ankl.e     ,~..._ldtori»& l.aw(s) etc. w1iea. en ar abQat 3.2.1902 pa Lott
was arrested by Saluda Law Enf'erceaen't Off:icial.{ s} ( Sheriff'' s Of':Cice);
sussequen.~ly trSDSported to Greenwood Collllty Dete.ation Center nere ae
waa sul,jedted to a prebal>ly cause •rder (issaed 2.6.19 (filed 2.14.19)
{cue # 2019-CP-24-00029) ill nelat±•ll e-€ tae 4tllt and 14th. Aaudaents
of       the        United             States             Constitutjon.                (arrest         &     due       process         -viol.atioa);

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lusioa. int coBCer"t actiea(s}                                       to,      depri.ve         Lott        of   M.s          coastitutioaal.
right(s)               due :precess                      and/crul. and                 UD.1lSlf&1        p\1Illlent          under      coler        of
state          l:.aw{s);
      •                                                                    IV.
          Since                Lott          was        incarcerated               patura llas bee11, lai.d by
                                                                                   the                                                               S1aaoe
et       contjm,j11g      to bring aore                                    aad aore :false charges(s) against                                        Lott
of       the        CSC natare; all. of which. were                                              d.isaissed, nell.e                   pnseqai           bet-
weea2014               and           2019          by       uw.      thl·eugh          Greemrood            County           which      is        why     Green-
weod        City/               <4if'~nwoed                 County         sad        Sheek      are        subjected            te     action          far
damages              ( actual., nollinal and                           punitive             dam.ag.es       herain}
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V.    Certification and Closing

      Under Federal Rule of Civil Procedure 11, by signing below, I certity to the best ofmy
      knowledge, information, and belief that this complaint: ( l) is not being presented for an
      improper purpose, such as to harass, cause unnecessary delay, or needlessly increase the
      cost of litigation; (2) is supported by existing law or by a nonfrivolous argument for
      extending, moditying, or reversing existing law; (3) the factual contentions have
      evidentiary support or, if specifically so identified, will likely have evidentiary support
      after a reasonable opportunity for further investigation or discovery; and (4) the
      complaint otherwise complies with the requirements of Rule 11.

      A.     For Parties Without an Attorney

             I agree to provide the Clerk's Office with any changes to my address where case-
             related papers may be served. I understand that my failure to keep a current
             address on file with the Clerk's Office may result in the dismissal of my case.

             Date of signing:Mltf<..   ?...7
             Signature of Plaintiff
             Printed Name of Plaintiff         GARI      FllGENE   J.0!5.'


      B.     For Attorneys

             Date of signing:                   20

             Signature of Attorney
             Printed Name of Attorney
             Bar Number
             Name of Law Firm
             Address
             Telephone Number
             E-mai I Address




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